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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   ) Case No. 1:21-cr-175-TJK
                                                   )
                        v.                         )
                                                   )
 ETHAN NORDEAN, et al.,                            )
                                                   )
        Defendants.                                )
                                                   )

     NOTICE OF DEFENDANT NORDEAN’S SEALED SUPPLEMENTAL FILING
    REGARDING JENCKS MATERIAL BEARING ON MOTIONS IN LIMINE AND
           SEALED MOTION TO LIFT SENSITIVITY DESIGNATION

       Defendant Nordean, through his counsel, files this notice of his under-seal filing

regarding Jencks material designated “sensitive” by the government and his under-seal motion to

lift the sensitivity designation. ECF No. 567.

       As Nordean’s under-seal filing indicates, on November 28 the government made its

production of witness statements and impeachment materials pursuant to 18 U.S.C. § 3500 and

Federal Rule of Criminal Procedure 26.2. Statements from virtually every civilian witness for

the government contradict key representations and arguments made in its publicly filed motions,

including the government’s claim that Defendants’ pre-January 6 “planning” contemplated

activities at the Capitol Building that day. By placing sensitivity designations across hundreds of

pages of these statements, the government prevents the Defendants from filing, and the public

from seeing, them. The government says this is to protect its witnesses. To the contrary,

limiting scrutiny of the fact that several individuals pleaded guilty to conspiracy charges despite

making exculpatory statements under penalty of prosecution does not protect those witnesses; it

exacerbates the significant harm they have already incurred.




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Dated: December 4, 2022                            Respectfully submitted,


                                                   /s/ David B. Smith
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                                                   Counsel to Ethan Nordean
                                    Certificate of Service

       I hereby certify that on the 4th day of December, 2022, I filed the foregoing notice with

the Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF)

to the following CM/ECF user(s):

              Jim Nelson
              Assistant United States Attorney
              555 4th Street, N.W., Room 4408
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       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


                                                   /s/ David B. Smith
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